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  Bradley J. Walz
  612.977.8525
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                                                  June 22, 2023



  VIA CERTIFIED MAIL AND EMAIL (FULLTILTLP@GMAIL.COM)

  Ben Konowitz and Ryan Hart
  Members
  Noah’s Arcade, LLC b/b/a Full Tilt Arcade
  701 N. Fail Rd.
  La Porte, Indiana 46350

          Re:         Infringement of Trademarks Owned by Nickels & Dimes,
                      Incorporated

  Dear Messrs Konowitz and Hart:

          We are trademark enforcement counsel for Nickels & Dimes, Incorporated, an
  arcade and entertainment center service provider. It has come to our attention that
  Noah's Arcade, LLC d/b/a Full Tilt Arcade is infringing NDI's federally registered,
  incontestable and common law trademark TILT. NDI therefore demands that Full Tilt
  immediately cease such infringing activity, desist from such infringing activity in the
  future, and comply with NDI's other requirements set forth in this letter.

         NDI is the owner of the TILT mark in connection with providing amusement arcade
  game facility entertainment services. NDI has been using the TILT mark in connection
  with these services in the United States for more than 46 years. As a result of our client's
  longstanding use of the TILT mark and the high quality of its services, the mark has
  become widely known throughout the United States, is closely identified with NDI, and
  represents substantial, valuable goodwill.

          NDI is also the owner of U.S. Registration Nos. 1349997 and 4758443 for the TILT
  mark and U.S. Registration No. 4082468 for the TILT STUDIO mark in connection with
  providing amusement arcade game facility entertainment services, which are in full force
  and effect. Further, these registrations are incontestable and serve as conclusive
  evidence of NDI's exclusive rights in the TILT and TILT STUDIO marks. Copies of our
  client's registrations are enclosed for your convenience.




 Taft Stettinius & Hollister LLP / Taftlaw.com / The Modern Law Firm   Exhibit 7
  127723627v1
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         Full Tilt is violating NDI's rights in its registered TILT and TILT STUDIO marks by
  using the mark FULL TILT in connection with arcades. FULL TILT incorporates the
  entirety of NDI’s registered TILT mark. NDI’s TILT mark is registered on the Principal
  Register without any claim of acquired distinctiveness. Therefore, NDI’s TILT mark is at
  least suggestive and possesses conceptual strength. Additionally, when the services at
  issue are identical, then less similarity between the marks is required for a likelihood of
  confusion to exist. All of this means that the addition of FULL to TILT is insufficient to
  avoid a likelihood of confusion with NDI’s TILT mark. In fact, consumers are likely to
  mistakenly believe that FULL TILT is a brand extension of NDI’s TILT mark because NDI
  also owns the TILT STUDIO mark.

          The prominent use of the FULL TILT mark creates the false impression that Full
  Tilt's services originate from NDI, or that NDI is somehow connected or associated with
  Full Tilt's services, so as to deceive customers or to cause confusion or mistake as to the
  origin or affiliation of Full Tilt's and NDI's services. The above use of the FULL TILT mark
  in connection with Full Tilt's services subjects Full Tilt to liability for trademark
  infringement, false designation of origin, and cyberpiracy in violation of the Lanham
  Trademark Act, 15 U.S.C. § 1051 et. seq.

         NDI consistently enforces its trademark rights against infringers through all
  appropriate legal means. However, under the circumstances, NDI is prepared to try to
  resolve this matter amicably provided that Full Tilt cooperates fully with NDI and
  establishes to NDI's satisfaction that this was a one-time error of judgment on Full Tilt's
  part and not a systematic effort to profit from or devalue NDI's intellectual property.

          NDI therefore demands that Full Tilt immediately, and by no later than June 29,
  2023:

         1.    Cease and desist from all further use of the FULL TILT mark and any
  other designations likely to cause confusion with NDI's trademarks;

          2.    Destroy any materials in its possession or control bearing any designation
  likely to cause confusion with NDI's trademarks;

          3.    Remove any signage bearing the FULL TILT mark and remove any
  references from the Internet under Full Tilt’s custody or control, including, but not limited
  to, https://www.facebook.com/fulltiltlaporte; and

          4.    Abandon the domain name www.fulltiltlp.com.

          NDI further demands that Full Tilt provide, by no later than the close of business
  on June 29, 2023, written confirmation that Full Tilt has complied with these demands.
  Full Tilt is specifically advised that any failure or delay in complying with these demands


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  will likely compound the damages for which Full Tilt may be liable. If NDI does not receive
  a satisfactory and timely response, NDI is prepared to take all steps necessary to protect
  NDI's valuable intellectual property rights, without further notice to Full Tilt.

         The above is not an exhaustive statement of all the relevant facts and law. NDI
  expressly reserves all of its legal and equitable rights and remedies, including the right to
  seek injunctive relief and recover monetary damages. Please let me know if you have any
  questions or want to discuss this matter in more detail. Otherwise, we expect that Full Tilt
  will comply with our client’s reasonable requests.


                                                Sincerely,

                                                Taft Stettinius & Hollister LLP


                                                /s/ Bradley J. Walz

                                                Bradley J. Walz

  BJW: acz
  Enclosure




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